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1    JENNIFER MOUZIS, SBN 200280
     MOUZIS CRIMINAL DEFENSE
2    1819 K Street, Suite 200
     Sacramento, California 95811
3    Telephone: (916) 822-8702
4    Attorney for Defendant
     Juan Carlos Reyes
5
6                                 IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES,                               ) Case No. 1:14-cr-00207-KJM-1
                                                  )
10                   Plaintiff,                   ) SUBSTITUTION OF ATTORNEY
                                                  )
11            v.                                  )
                                                  )
12   JUAN CARLOS REYES,                           )
                                                  )
13                   Defendant,                   )
                                                  )
14
15
              It is respectfully requested that Attorney JENNIFER MOUZIS be relieved as attorney of
16
     record in the above captioned case due to resignation from the Federal CJA Panel and that
17
     attorney KELLAN PATTERSON, PO Box 5042, Sacramento, CA 95817-0042; telephone
18
     number (916) 905-7265, be substituted in as appointed counsel for Juan Carlos Reyes. Mr.
19
     Reyes continues to qualify for appointed counsel.
20
     Dated: January 3, 2025
21
22                                                        Respectfully submitted,
23
                                                           /s/ Jennifer Mouzis
24                                                        JENNIFER MOUZIS
                                                          Attorney
25
     //
26
27
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      Case 1:14-cr-00207-KJM Document 117 Filed 01/08/25 Page 2 of 2


1          I accept the substitution and ask to be appointed.
2
     DATED: January 3, 2025
3
                                                         /s/ Kellan Patterson
4                                                        KELLAN PATTERSON
                                                         Attorney at Law
5
6
7
                                               ORDER
8
     IT IS SO ORDERED.
9
     DATED: 1/8/2025
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12                                       Kimberly J. Mueller
                                         United States District Court Judge
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